U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

St Louis District Office
1222 Spruce, Room 8.100
St. Louis, MO 63103
(314)798-1960

Website: www.eeoc.gov

DETERMINATION AND NOTICE OF RIGHTS

(This Notice replaces EEOC FORMS 161 & 161-A)
Issued On: 10/05/2023 ~

To: Franklin Bryant
2101 N 12th St Sin as
Kansas City, KS 66104 sa OS

Re: Franklin Bryant v. Jk Concrete Construction
EEOC Charge Number: 28E-2022-00649

EEOC Representative and email: Joseph J. Wilson

State, Local & Tribal Program Manager
Joseph. Wilson@EEOC. gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC has adopted the findings of the state
or local fair employment practices agency that investigated your charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a
lawsuit based on a claim under state law may be different.)

Please retain this notice for your records.

On Behalf of the Commission:

Digitally Signed By: David Davis 10/5/2023

David Davis
District Director

cc: Scott C Long
Attorney
Long & Robinson, LLC
1800 Baltimore Avenue, Suite 500
Kansas City, MO 64108

Case 4:23-cv-00787-DGK Document 1-2 Filed 10/30/23 Page 1 of 23
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

St Louis District Office
1222 Spruce, Room 8.100
St. Louis, MO 63103
(314)798-1960

Website: www.eeoc.gov

DETERMINATION AND NOTICE OF RIGHTS

(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 10/05/2023

To: Franklin Bryant
2101 N 12th St
Kansas City, KS 66104

Re: Franklin Bryant v. Operative Plasterers' & Cement Masons' Local Union 518
EEOC Charge Number: 28E-2022-00650 - _

EEOC Representative and email: Joseph J. Wilson

State, Local & Tribal Program Manager
Joseph. Wilson@EEOC. gov

DETERMINATION OF CHARGE

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or local fair employment practices agency that investigated your charge.

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lawsuit based on a claim under state law may be different.)

Please retain this notice for your records.

On Behalf of the Commission:

Digitally Signed By:. David Davis 10/5/2023

David Davis
District Director

cc: Mark A Kistler
Attorney
Arnold, Newbold, Sollars & Hollins, PC
1100 Main Street, Suite 2001
Kansas City, MO 64105

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My Personal Statement: Franklin Bryant

From the onset of my career in the construction industry I’ve witnessed covert and overt racism, bigotry,
and injustice towards African Americans. It is prevalent and deeply ingrained in the industry as a whole;
I’ve personally witnessed it on many of the job site and companies that the Union has place me in.
Learning to cope and circumvent this negative aspect within the construction industry has been a
daunting task and mentally exhausting.

During the month of October 2021, after a stint of inclement weather, the job site was put on hold until
it would be dry enough to pour concrete again. After receiving a couple texts regarding inconclusive
start up dates from my foreman, | replied that | could not work on a particular date due to an upcoming
medical appointment. | had recently been in a severe vehicle accident and had x-rays schedule for that
date. The next day the foreman began sending me a thread of belligerent text messages, filled with hate
and furious speech. As he persisted, he began making accusation regarding my work time entries on my
time card and sent picture of my personal tools and clothing he had confiscated and refused to return.
It became so frightening that | contacted my Union Steward and forward him the text message and
pictures, also forwarding the same to the owner of the company. Asa result, | was offered a position
with another company out of state, as resolution of the matter. It infuriates me to know, through
experience, that had I’d been a White person, that the situation would have been addressed and dealt
with appropriately and promptly. The issue was never addressed in its entirety in my case; noticeable
ignored in it harassment and discriminatory context. My rights to privacy and confidentially were
violated from the onset, many of my coworkers and the foreman in question knew of every detail of my
complaint and the relocation offer made to me, prior to my knowledge of it. | decided to decline the
offer in fear of the possibility of forwarding retaliatory effort; the likelihood of a staged accidental death
was my most pressing concern, since many of the construction company’s work together in varying
degrees.

I’m constantly haunted and affected by these recent experiences of harassment and retaliation from my
recent work place, because they were overtly instituted and presented a fearful and degrading threat.
As a result, my sleep is now sporadic and limited and I’ve begun to having nightmares of being haunted
and killed by my foreman’s and mocked by coworkers, while management looks on with no intention of
saving me. It has affected every aspect of my life. | can no long feel a sense of security among
leadership and coworkers. This detachment leaves me with a high degree of stress and anger. |
continuously replay the incident in my head and have frequent panic attracts. I’ve lose the sense of joy
| use to get from my job and the accomplishment of finishing a project, now often times feeling
depressed and irritated. The livelihood | use to express with me family and my only daughter has
diminished, because of my depressed state of mind; I’m unable to stay focus on the positives of life. |
find it increasing difficult to motivate myself on the simplest chores within my home and find myself
drinking alone as a means of coping with the realities of never ending discrimination and harassment of
Black society.

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Tuesday, November 9, 2021

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Case 4:23-cv-OOV§7-DGK Document 1-2 Filed 10/39/23 Page 6 of 23
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Tuesday, November 9, 2021

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Wednesday, November 10, 2021

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because | hired you

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Thursday, November 4, 2021

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Saturday, November 6, 2021

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+1 816-200-8177

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MMS 8:14 AM

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if it doesn't rain.
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Wednesday, October 27, 2021

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tomorrow. 545 BM

Thursday, October 28, 2021

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Case 4:23-cv-00/)87-DGK Document 1-2 Filed 10/30/23 Page 12 of 23
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Boss Kidwel Bradon
+1 816-200-8177

Sunday, October 31, 2021

Letting ground dry
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Monday, November 1, 2021

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Boss Kidwel Bradon =
+1 816-200-8177

We need everyone
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Case 4:23-cv-00787-DGK Document1-2 Filed 10/30/23 Page 14 of 23
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and your too much
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Thursday, November 4, 2021

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Case 4:23-cv-00/87-DGK Document 1-2 Filed 10/39/23 Page 18 of 23
Boss Kidwel Bradon Cm:
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Wednesday, November 3, 2021

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Saturday, November 6, 2021

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Case 4:23-cv-00/787-DGK Document 1-2 Filed 10/39/23 Page 19 of 23
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Wednesday, November 3, 2021

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Tuesday, October 26, 2021

Send Julie your time
as soon as you get
here please

7:13 AM

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e Julie Houston

Ms
a
(816) 726-8048 psa any

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Case 4:23-cv-O07B7-DGK Document1-2 Filed 10/3/23 Page 21 of 23
LEGAL AID of WESTERN MISSOURI

Our Offices (Kansas City)

Central Office - KC

4001 Blue Parkway, Suite 300
Kansas City, MO 64130
Phone: 816-474-6750

Fax: 816-474-9751

Westside Office - KC
920 Southwest Blvd.
Kansas City, MO 64108
Phone: 816-474-9868
Fax: 816-474-7575

Every day, Missourians are denied the basic tights to which they are entitled under the
law simply because they can’t afford an attorney. We’re on a mission to change that!
Legal Aid of Western Missouri provides free civil (non-criminal) legal assistance to
people who need it most and can afford it least.

The availability of free civil legal aid can make all the difference to our neighbors who
are fighting to stay in their homes, escape domestic violence, secure veterans’ benefits or
address many other legal challenges that go to the heart of their security and well-being.
We serve 40 counties in Missouri where approximately 295,000 people live in poverty —
most of whom you will never meet or even know. But they are a lot like you. They have
families, hopes and dreams. They are your neighbors. They live in the communities you
call home,

Types of Cases We Often Handle

Consumer Law
Domestic Violence Protection
Economic Development

Guardianships
Healthcare Access

Housing Law

Immigration Law

Low Income Taxpayer Clinic
Mental Healthcare Access
Migrant Farmworkers Project
Municipal Court Defense
Public Benefits

Veterans Issues

Case 4:23-cv-00787-DGK Document 1-2 Filed 10/30/23 Page 22 of 23
Our Offices

Central Office
4001 Blue Parkway, Suite 300
Kansas City, MO 64130

Westside Office
920 Southwest Blvd.
Kansas City, MO 64108

Joplin

302 S. Joplin
Joplin, MO 64801

St. Joseph
706 Felix Street

St. Joseph, MO 64501

Warrensburg
305 N. Holden

Warrensburg, MO 64093

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